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UNITED STATES
Bed POSTAL SERVICE

September 25, 2020

OFFICERS, PCES, AND PAY BAND MANAGERS

SUBJECT: Additional Resources for Election Mail Beginning October 1

The November 3, General Election is fast approaching. While normal First-Class and Marketing Mail
volumes are down considerably, the volume of Election Mail will be at an all-time high this season.
COVID-19 has changed the way millions of people will vote this year, and many are turning to the
United States Postal Service to deliver their ballots. Recognizing our important role in the democratic
process, the Postmaster General has reiterated that our number one priority is the proper handling
and timely delivery of all Election Mail, especially ballots.

Effective October 1, additional resources are being made available for District Managers,
Postmasters, Division Directors, and Plant Managers to utilize, as they determine, to support the
timely and expeditious handling of the increased volume of Election Mail, which is defined by the
Postal Service as any item mailed to or from authorized election officials that enables citizens to
participate in the voting process, such as ballots, voter registration cards, ballot applications, and
polling place notifications. District Managers, Postmasters, Division Directors, and Plant Managers
are authorized and instructed to use these additional resources to ensure that all Election Mail is
prioritized and delivered on time. These resources are in addition to the existing processes and
procedures for Election Mail.

These resources include, but are not limited to:
1. Processing

As previously provided in the Clarifying Operational Instructions distributed on September 21,
Election Mail entered as Marketing Mail should be advanced ahead of all other Marketing
Mail and processed expeditiously to the extent feasible so that it is generally delivered in line
with First-Class Mail delivery standards. Processing windows on letter and flat sorting
equipment should be expanded as necessary to ensure that all Election Mail received prior to
the First-Class Mail Critical Entry Time is processed that same day. Further, to the extent
possible, Election Mail received after the Critical Entry Time should be processed and
advanced as if it arrived prior to the Critical Entry Time, unless doing so would disrupt on-time
service for Election Mail received prior to the Critical Entry Time.

Other additional processing resources are also authorized and instructed to be used to
ensure that Election Mail stays current and moving through the Postal Service’s network. This
includes, but is not limited to, early cancellations the week before Election Day to ensure all
collected ballots are processed timely.

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2. Transportation

Extra transportation resources are authorized and instructed to be used to ensure that
Election Mail reaches its intended destination in a timely manner. This includes, but is not
limited to, extra trips from all points of processing and delivery (e.g., retail units and plants),
as necessary to connect Election Mail to its intended destination or the next stage in Postal
Service processing.

3. Delivery/Collections

Extra delivery and collection trips are authorized and instructed to be used to ensure, to the
best of our ability, that completed ballots entered on Election Day reach the appropriate
election official by the state’s designated deadline on Election Day. This includes, but is not
limited to, early collections the week before Election Day to ensure all collected ballots are
processed timely, and delivery of ballots found in collections on Election Day to election
boards within states requiring ballots be returned by a designated time on Election Day.

4. Overtime

Overtime is authorized and instructed to be used to support these additional resources and
the completion of the additional work, as needed.

In addition, to further support the timely delivery of Election Mail, and consistent with our practices in
past election cycles, the use of extraordinary measures beyond our normal course of operations is
authorized and expected to be executed by local management between October 26 and November
24, to accelerate the delivery of ballots, when the Postal Service is able to identify the mailpiece as a
ballot.

These extraordinary measures include, but are not limited to, expedited handling, extra deliveries,
and special pickups as used in past elections, to connect blank ballots entered by election officials to
voters or completed ballots returned by voters entered close to or on Election Day to their intended
destination (e.g., Priority Mail Express, Sunday deliveries, special deliveries, running collected ballots
to Boards of Elections on Election Day, etc.).

We will continue to communicate closely with election officials to encourage them to send ballots
earlier. We have also educated voters across the nation to request their ballots early (if they are
required to request a ballot) and to return their ballots early, if they plan on using the mail for one or
both legs of the journey.

Despite our best efforts to educate and communicate, however, we know that there will be entries of
ballots to and from voters that will require us to take the extra steps set forth herein to ensure timely
delivery. The additional resources available beginning October 1, and our robust practices and
procedures that we employ every election cycle as described above, will help ensure that we are able
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to do everything in our power to meet our customers’ expectations that mail will be delivered in a
timely manner when our customers use the mail to facilitate or participate in the electoral process.

Thank you for your hard work and dedication in delivering America’s Election Mail.

Kristin A. Seaver Dav illiams
Chief Retail & Delivery Officer Chief Logistics & Processing Operations
and Executive Vice President Officer and Executive Vice President
